Case 4:20-cv-02078-MWB Document 194 Filed 11/20/20 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT |
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

)
DONALD J. TRUMP FOR )
PRESIDENT, INC., et al., )
| )
Plaintiffs, Civil Action No. 4:20-cv-02078-
MWB
V. )
)
KATHY BOOCKVAR, in her capacity ) 2Udge Matthew W. Brann
as Secretary of the Commonwealth of ) Electronically Filed
Pennsylvania, et al., ) y
)
Defendants. )
)

 

NOTICE OF SUBSTITUTION OF COUNSEL AND
MEMORANDUM IN SUPPORT OF

MOTION FOR WITHDRAWAL OF APPEARANCE
Barry H. Berke of Kramer Levin will be making an appearance on behalf of
Defendant Secretary of the Commonwealth Kathy Boockvar. Daniel Donovan,
Susan Davies, and Michael Glick move to withdraw pursuant to Pennsylvania Rule
of Professional Conduct 1.16(b)(1). The Secretary consents to this substitution and
withdrawal. Secretary of the Commonwealth Kathy Boockvar has been represented
by counsel from Kirkland & Ellis LLP, Myers Brier & Kelly LLP, and the
Pennsylvania Office of Attorney General. The Secretary will continue to be ably

represented by Kramer Levin, Myers Brier & Kelly LLP and the Pennsylvania

Office of Attorney General until the conclusion of this proceeding. Counsel from
Case 4:20-cv-02078-MWB Document 194 Filed 11/20/20 Page 2 of 3

Kirkland & Ellis will abide by its obligations under Pennsylvania Rule of
Professional Conduct 1.16(d) and take any steps necessary to avoid any prejudice to
the Secretary in this matter or to delay the Court’s consideration of this case.

Accordingly, Movants ask that the motion be granted.

Dated: November 20, 2020 Respectfully submitted,

KIRKLAND & ELLIS LLP

By: /s/Daniel T. Donovan
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Case 4:20-cv-02078-MWB Document 194 Filed 11/20/20 Page 3 of 3

CERTIFICATE OF SERVICE

[hereby certify that on November 20, 2020, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all parties who have appeared in
this action via the Court’s electronic filing system. Parties may access this filing

through the Court’s system.

/s/ Daniel T. Donovan
Daniel T. Donovan
